UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

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PDV USA, INC.,
                                                        :
                 Plaintiff,                             :
                                                        :
v.                                                      :         Case No. 20-cv-3699
                                                        :      JURY TRIAL DEMANDED
                                                        :
INTERAMERICAN CONSULTING INC.,                          :
                                                        :
Defendant.                                              :
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             PLAINTIFF’S ANSWER AND AFFIRMATIVE DEFENSES TO
                       DEFENDANT’S COUNTERCLAIMS

              Plaintiff PDV USA, Inc. (“PDV USA” or “Plaintiff”), by and through its

undersigned counsel, Willkie Farr & Gallagher LLP, answers and asserts affirmative defenses to

the counterclaims (the “Counterclaims”) of Interamercian Counseling Inc. (“Interamerican” or

“Defendant”) as follows:

                                     INTRODUCTION

       1.     PDV USA denies the allegations of paragraph 1, except admits that Petroleos de

Venezuela, S.A. (“PDVSA”) is the ultimate parent of Citgo Petroleum Corporation (“Citgo”), that

David Rivera is a former U.S. Congressman, and that PDV USA entered into an agreement with

Interamerican for purported consulting services (the “Agreement”).

       2.     PDV USA denies the allegations of paragraph 2, except admits that PDV USA and

Interamerican entered into the Agreement on March 21, 2017, and that Interamerican refused to

consent to the “Assignment and Assumption Consent Agreement To ‘Consulting Agreement,

Dated March 21, 2017’” (the “Assignment and Assumption Consent Agreement”) and denies
knowledge or information sufficient to form a belief as to the truth of the allegation that an offer

was made to pay the balance under the Agreement to Interamerican.

       3.      PDV USA denies the allegations of paragraph 3, except admits that it filed this

lawsuit and refers to the Amended Complaint for its contents.

       4.      PDV USA denies the allegations of paragraph 4.

                              JURISDICTION AND THE PARTIES

       5.      The allegations of paragraph 5 contain legal conclusions and/or legal argument as

to which no response is required.

       6.      PDV USA admits the allegations of paragraph 6.

       7.      PDV USA admits the allegations of paragraph 7.

       8.      PDV USA admits the allegations of paragraph 8 upon information and belief.

                                    FACTUAL BACKGROUND

       9.      PDV USA denies the allegations of paragraph 9.

       10.     PDV USA denies the allegations of paragraph 10, except admits that David Rivera

is a former U.S. Congressman and denies knowledge or information sufficient to form a belief as

to the truth of the allegations concerning David Rivera’s alleged “experience in governmental

affairs and strategic planning.”

       11.     PDV USA denies the allegations of paragraph 11, except admits that PDV USA

entered into the Agreement.

       12.     PDV USA denies the allegations of paragraph 12, except admits that Interamerican

and PDV USA entered into the Agreement and that Exhibit A is a true and correct copy of the

Agreement.




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        13.     PDV USA denies the allegations of paragraph 13, except admits that PDV USA

entered into the Agreement with Interamerican and refers to the Agreement for its contents

        14.     PDV USA denies the allegations of paragraph 14.

        15.     PDV USA denies the allegations of paragraph 15, except admits that PDV USA

paid $15 million to Interamerican.

        16.     The allegations of paragraph 16 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 16.

                                         COUNT ONE
                                      (Breach of Contract)

        17.     PDV USA repeats and re-alleges each and every response set forth above as if fully

set forth herein.

        18.     PDV USA denies the allegations of paragraph 18, except admits that PDV USA

and Interamerican entered into the Agreement and refers to the Agreement for its contents.

        19.     PDV USA denies the allegations of paragraph 19, except admits that PDV USA

paid $15 million to Interamerican.

        20.     The allegations of paragraph 20 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 20.

        21.     The allegations of paragraph 21 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 21.




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                                        COUNT TWO
                                      (Unjust Enrichment)

        22.     PDV USA repeats and re-alleges each and every response set forth above as if fully

set forth herein.

        23.     The allegations of paragraph 23 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 23.

        24.     PDV USA denies the allegations of paragraph 24.

        25.     PDV USA denies the allegations of paragraph 25.

        26.     PDV USA denies the allegations of paragraph 26.


                                       COUNT THREE
                                    (Declaratory Judgment)

        27.     PDV USA repeats and re-alleges each and every response set forth above as if fully

set forth herein.

        28.     The allegations of paragraph 28 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 28, except admits that an actual and ripe controversy exists between PDV

USA and Interamerican.

        29.     PDV USA denies the allegations of paragraph 29.

        30.     The allegations of paragraph 30 contain legal conclusions and/or legal argument as

to which no response is required. To the extent a response is required, PDV USA denies the

allegations of paragraph 30.

        31.     PDV USA denies the allegations of paragraph 31.




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                                     PRAYER FOR RELIEF

          32.   PDV USA denies that Interamerican is entitled to any of the relief it requests.

                                  AFFIRMATIVE DEFENSES

          33.   PDV USA asserts the following defenses to the Counterclaims without prejudice to

any position it may take regarding the burden of proof on such defenses, and it reserves the right

to assert additional defenses, including defenses based on facts revealed through discovery or

further investigation.

                                    First Affirmative Defense

          34.   The Counterclaim fails to state a claim upon which relief can be granted.

                                   Second Affirmative Defense

          35.   Interamerican’s claim for breach of contract is barred by its own prior material

breach.

                                   Third Affirmative Defense

          36.   Interamerican’s claims are barred in whole or in part by the equitable doctrines of

unclean hands, laches, estoppel and/or waiver.

                                   Fourth Affirmative Defense

          37.   Any claim for equitable or declaratory relief is barred because Defendant has an

adequate remedy at law.

                                    Fifth Affirmative Defense

          38.   Interamerican’s claims are barred, in whole or in part, because the Agreement is

invalid, illegal, null, and/or void ab initio, and thus unenforceable. Interamerican’s President,

David Rivera, made statements to the press shortly after the filing of this lawsuit, indicating that

Interamerican never intended to provide the strategic consulting services that were the subject of

the Agreement.

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                                        Sixth Affirmative Defense

          39.      Interamerican’s breach of contract claim is barred in whole or in part because it

failed to satisfy a condition precedent under the Agreement.

   WHEREFORE, Plaintiff hereby respectfully requests that this Court:

   (i)          Enter an order dismissing Defendant’s counterclaims with prejudice;

   (ii)         Enter an order granting judgment in favor of Plaintiff as requested in the Amended
                Complaint; and/or

   (iii)        Enter such other and further relief as this Court deems just and equitable.



Dated: New York, New York
       September 24, 2021




                                                  WILLKIE FARR & GALLAGHER LLP



                                                  By: /s/ Jeffrey B. Korn_______________

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                                                      Attorneys for Plaintiff PDV USA, Inc.

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